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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

RAYMOND MATHIS,                            )
#140252,                                   )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )       CASE NO. 1:20-CV-351-RAH-CSC
                                           )
DONALD VALENZA, et al.,                    )
                                           )
      Defendants.                          )

                                       ORDER

      This case is before the Court on a Recommendation of the Magistrate Judge entered

on February 9, 2023. (Doc. 41.) There being no timely objections filed to the

Recommendation, and after an independent review of the file, the Recommendation is

ADOPTED, and it is hereby

      ORDERED that this case is DISMISSED without prejudice.

      Final Judgment will be entered separately.

      DONE, on this the 2nd day of March 2023.



                                 R. AUSTIN HUFFAKER, JR.
                                 UNITED STATES DISTRICT JUDGE
